                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                       September 18, 2020
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS                     David J. Bradley, Clerk

                       CORPUS CHRISTI DIVISION

DAVID ALLEN HAVERKAMP; aka               §
HAVERKAMP,                               §
                                         §
        Plaintiffs,                      §
VS.                                      §   CIVIL NO. 2:17-CV-18
                                         §
JOSEPH PENN, et al,                      §
                                         §
        Defendants.                      §

                                    ORDER

      The Court is in receipt of the Magistrate Judge’s Memorandum and
Recommendation (“M&R”) to Deny the Motions to Intervene. Dkt. No. 186. The
Court is also in receipt of Plaintiff Bobbie Lee Haverkamp’s (aka David Allen
Haverkamp) (“Haverkamp”) objections to the M&R. Dkt. No. 197.
      Haverkamp is incarcerated in Beaumont, Texas with the Texas Department
of Criminal Justice (“TDCJ”) and alleges a violation of her constitutional rights
based on TDCJ’s failure to provide adequate medical care for her gender
dysphoria/gender identity disorder. Dkt. No. 62 Three motions to intervene have
been filed by other inmates who state they suffer from gender dysphoria: Shawn
Kelly Vinson, Dkt. No. 141, Isabelle Miller, Dkt. No. 156 and James Seat, Dkt. No.
164. Defendants oppose the interventions. Dkt. No. 174.
      The Magistrate Judge recommends denying the motions for intervention as a
matter of right or permissibly because the proposed intervenors “merely cite their
own medical conditions and symptoms which may form the basis of their own
lawsuits” and because “[a]llowing additional plaintiffs in this case at this point
would delay the disposition of Plaintiff’s claims and cause this action to become
exponentially more complex…” Dkt. No. 186.




1/2
      Haverkamp objects to the M&R on the grounds that Defendants do not have
standing to oppose the motion to intervene and the proposed intervenors have
strong similarities to her claims so as to necessitate intervention. Dkt. No. 197.
      Haverkamp correctly notes that the Federal Rules of Civil Procedure allow
permissive intervention when a person shares a common question with the main
action. See Fed. R. Civ. P. 24. While the core elements of Haverkamp’s complaint
regarding gender reassignment surgery may be shared by the proposed intervenors,
the related claims of different types of treatment for gender dysphoria and each
person’s medical history would vastly increase the complexity of this case.
Therefore, the Court OVERRULES Haverkamp’s objections. Dkt. No. 197.
      After review of the filings and relevant law, the Court ADOPTS the M&R in
its entirety, Dkt. No. 186. The Court DENIES the motions to intervene, Dkt. Nos.
141, 156, 164.


      SIGNED this 18th day of September, 2020.


                                           ___________________________________
                                           Hilda Tagle
                                           Senior United States District Judge




2/2
